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IN THE UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

 

PFIZER INC., WYETH LLC, PFIZER
PHARMACEUTICALS LLC, PF PRISM
C.V., and PFIZER MANUFACTURING
HOLDINGS LLC,

Plaintiffs,
Misc. Case No. 8:16-mc-00047
Vv.

MYLAN INC., MYLAN LABORATORIES
LIMITED and MYLAN
PHARMACEUTICALS INC.,

Original case pending in the U.S.
District Court for the District of

Delaware, C.A. No. 15-26 (SLR)
Defendants.

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NON-PARTY UNIMARK REMEDIES LTD.’S AMENDED MOTION
AND MEMORANDUM TO QUASH SUBPOENAS

(As to Certificate of Service Only)
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MOTION’

Non-party Unimark Remedies Limited (‘““Unimark’”’), having a principal place of business
in Mumbai, India, respectfully moves the Court for an Order quashing the invalid subpoenas
referenced herein. Rule 45 of the Federal Rules of Civil Procedure requires any motion to quash
to be brought in the district where compliance is required (see Fed.R.Civ.P. 45(d)(3)(A)), and the
subject deposition subpoenas command Unimark to appear for a deposition in Tampa at 2801 N.
Florida Avenue, Tampa, Florida 33602 on April 15, 2016 at 9:00 a.m., and, in the case of
Unimark Remedies Limited, to bring certain documents to the deposition. Therefore, this
Motion to Quash is being filed in this Court. As detailed herein, the subpoenas are invalid for
failure to comply with the geographic limitations of Rule 45(c), for being unduly burdensome,
and for improper service. The parties have met and conferred regarding the subpoenas, but were
unable to reach a resolution, necessitating the filing of the motion.

I. BACKGROUND AND RELEVANT FACTS

This discovery dispute relates to the case captioned Pfizer Inc., Wyeth LLC, Pfizer
Pharmaceuticals LLC, PF Prism C.V., and Pfizer Manufacturing Holdings LLC y. Mylan Inc.,
Mylan Laboratories Limited and Mylan Pharmaceuticals Inc., Civil Action No. 15-26 (SLR),
currently pending in the U.S. District Court for the District of Delaware (the “Pending
Litigation”). The claims at issue in the Pending Litigation involve allegations of patent
infringement related to Mylan’s filing of an abbreviated new drug application (““ANDA”) with

the U.S. Food and Drug Administration for a generic version of Tygacil®. Non-party Unimark

Remedies Limited is listed 29 eee

 

' All redacted portions of this Motion will be filed under seal.
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Plaintiffs have previously sought discovery from Unimark in the Pending Litigation via
the Hague Convention and the U.S. District Court for the District of Delaware has issued Letter
of Request for International Judicial Assistance on March 21, 2016. See Declaration of Robert
L. Florence §{ 7-8 (“Florence Dec.”). The letter request is not the first time that Plaintiffs have
sought discovery from Unimark, however, as Plaintiffs previously served an invalid subpoena in
December, 2015 (the “December Document Subpoena”) seeking documents from Unimark.
Florence Decl. ¢ 9. Unimark served its objections to the December Document Subpoena on
January 13, 2016, and filed the associated notice of service on January 14, 2016 (D.I. 51).
Florence Decl. ¢ 10. As detailed in Unimark’s objections to the December Document Subpoena,
Unimark objected that the December Document Subpoena violated the geographic limitations of
Rule 45 of the Federal Rules of Civil Procedure and also that many of the document requests
were overbroad, unduly burdensome and not reasonably calculated to lead to the discovery of
admissible evidence, particularly in light of the fact that Unimark was not a party to the Pending
Litigation. Jd.

Nevertheless, subject to its objections and without waiving the same, Unimark agreed to
voluntarily provide a limited subset of documents in response to the December Document
Subpoena. Florence Decl. f 10-11. In the spirit of cooperation, Unimark was also in the process
of determining whether to voluntarily appear for a deposition rather than waiting for the Letter of
Request for International Judicial Assistance to run its course with the appropriate Indian
authorities in exchange for Plaintiffs’ possible agreement to narrow the discovery sought
pursuant to the Hague Convention. Florence Decl. { 12. Despite Unimark’s history of voluntary
cooperation, and with full knowledge that Unimark is a foreign Indian corporation, Plaintiffs

served two invalid deposition subpoenas (the “Deposition Subpoenas”) directing Unimark to
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appear for a deposition in Tampa, Florida in clear violation of the geographic limitations of Rule
45(c). Florence Decl. § 12.

Il. ARGUMENT

Unimark has standing to challenge the subpoenas because Unimark Remedies Limited is
the non-party corporate entity to whom the subpoenas are directed. See GMA Accessories, Inc.
v. Elect. Wonderland, Inc., No. 07-CV-3219-PKC-DF, 2012 WL 1933558, at *4 (S.D.N.Y. May
22, 2012). As anon-party, before discovery may be had, a subpoena must be properly issued in
accordance with Rule 45 of the Federal Rules of Civil Procedure. See Price Waterhouse LLP v.
First American Corp., 182 F.R.D. 56, 61 (S.D.N.Y. Aug. 12, 1998). The subject subpoenas fall
well short.

A. The Subpoenas Must be Quashed for Violating the Geographical Limitations
of Rule 45

The subpoenas are invalid on their face because they violate the geographical limits
specified by Rule 45 of the Federal Rules of Civil Procedure. In particular, the subpoenas
require compliance in Tampa, Florida, which is well beyond the 100 mile geographic limit
imposed by Rule 45 (c), which states in relevant part:

(1) For a Trial, Hearing, or Deposition. A subpoena may command a person to

attend a trial, hearing, or deposition only as follows: (A) within 100 miles of

where the person resides, is employed, or regularly transacts business in person;

or (B) within the state where the person resides, is employed, or regularly

transacts business in person, ... (2) For Other Discovery. A subpoena may

command: (A) production of documents, electronically stored information, or
tangible things at a place within 100 miles of where the person resides, is

employed, or regularly transacts business in person... .

Fed. R. Civ. P. 45(c)(emphasis added). Thus, under Rule 45, a subpoena may only command the

appearance for a deposition and/or the production of documents “within 100 miles of where the

person resides, is employed, or regularly transacts business in person.”
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As an Indian company residing in India, Unimark does not meet the required criteria
under the Rule. For example, Unimark’s corporate office, and principal place of business, is
located at Enterprise Center,lst Floor, Orchid Lane, Nehru Road, Vile Parle (East), Mumbai,
India — 400099. Florence Decl. J{ 3-4. Moreover, Unimark does not have any offices in Florida
or any employees in Florida. Florence Decl. § 4. As such, Unimark does not “reside” in Florida
and is not “employed” in Florida as required by Rule 45. Nor does Unimark “regularly transact
business in person” in Florida by virtue of registering as a foreign corporation and naming a
registered agent. Indeed, courts have expressly interpreted the phrase “regularly transacts
business in person” as used in Rule 45 as requiring the entity itself to regularly transact business
within the geographic limit rather than through an agent as Unimark has done here. See Price
Waterhouse LLP vy. First American Corp., 182 F.R.D. 56, 62 (S.D.N.Y. Aug. 12, 1998).

Rule 45 provides that “on timely motion, the court for the district where compliance is
required must quash or modify a subpoena that: (i) fails to allow a reasonable time to comply;
(ii) requires a person to comply beyond the geographical limits specified in Rule 45(c); (iil)
requires disclosure of privileged or other protected matter, if no exception or waiver applies; or
(iv) subjects a person to undue burden.” Fed. R. Civ. P. 45(d)(3) (emphasis added). Compliance
with the subpoena would require a designated witness of Unimark to travel from Mumbai, India,
to Tampa, Florida — a distance of over 14,000 km or 6,700 miles — and well outside the
geographic limitations of Rule 45(c). Therefore, the subpoenas must be quashed. See Sandifer
v. Hoyt Archery, Inc., No. 12-322-SDD-RLB, 2014 WL 3540812, at *4 (M.D. La. Jul. 17, 2014)
(denying motion to compel because, inter alia, “[a] subpoena requiring a nonparty to produce
documents at a place more than 100 miles away is invalid”); Estate of Klieman y. Palestinian

Authority, 293 F.R.D. 235, 239 (D. D.C. Sept. 19, 2013) (holding that “under Rule 45 this Court
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must quash a subpoena where a nonparty organization does not employ anyone who is suitable to
serve as a Rule 30(b)(6) representative within 100 miles of the district” and “[a] contrary rule
would render Rule 45(c)’s protections meaningless in the context of Rule 30(b)(6) witnesses”);
Price Waterhouse, 182 F.R.D. at 63 (S.D.N.Y. Aug. 12, 1998) (requiring the entity itself to
regularly transact business within the geographic limit rather than through an agent and quashing
subpoena where the knowledgeable employees of the subpoenaed party did not “reside,” were
not “employed,” and did not “regularly transact [ ] business in person” in the court’s
jurisdiction). Accordingly, the Court must quash the subpoenas because they “require [Unimark]
to comply beyond the geographical limits specified in Rule 45(c).” Fed. R. Civ. P. 45(d)(3)

B. The Subpoenas Must be Quashed Because They are Unduly Burdensome

Due to the invalid nature of the subpoenas, they are also unduly burdensome. See, ¢.g.,
In re ANC Rental Corporation, Miscellaneous Action No. 02-148, 2002 WL 34729302, *2-3
(E.D. Pa. Jun. 20, 2002) (quashing subpoena that required corporate designee to travel over
1,200 miles to transport and produce a large number of documents and holding that such
violation of Rule 45 was “unduly burdensome”). The burden, however, does not end there. The
subpoena topics and requests are entirely duplicative of, indeed identical to, the topics and
requests contained within the Letter of Request for International Judicial Assistance issued on
March 21, 2016 by U.S. District Court for the District of Delaware. (D.I. #76). Florence Decl. J
8. The improper subpoenas are therefore nothing more than an attempt at circumventing the
Hague Convention and the protections afforded a foreign non-party witness.

The requests are also duplicative of document discovery already voluntarily provided by
Unimark. For example, to the extent such documents exist and were in Unimark’s possession,

custody, and control, Unimark previously provided the following documents to Plaintiffs:
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e acomplete copy of the Drug Master File referenced in To (covered
by Document Request No. | of the subpoenas);

e manufacturing batch records related to the tigecycline manufactured by Unimark
for use in connection with Fg (covered by Document
Request No. 2 of the subpoenas);

e testing protocols and testing results for tests conducted on that tigecycline and/or
any intermediate products utilized in the synthesis of the same (covered by

Document Request Nos. 4 and 5 of the subpoenas); and

e any documents regarding the stability and storage of that tigecycline (covered by
Document Request Nos. 4 and 5 of the subpoenas).

Yet, the invalid subpoenas request the same documents that were already voluntarily provided to
Unimark. Florence Decl. J 11.
Moreover, the invalid subpoenas also unduly burdensome as they improperly seek

documents and witness testimony related to irrelevant and overly broad topics. For example, the

invalid subpoenas seek documents and witness testimony related to an a

Ee (see Document Request Nos. 9 and 10 and Topics 11 and 12). As stated to Plaintiffs in a

letter, dated February 26, 2016, from Unimark’s counsel (and as acknowledged in Deposition

Subpoena Topic 11), ee
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Plaintiffs have alleged no allegations that such requests and topics are relevant to any
issue in this litigation; therefore, such requests can only be calculated to harass and embarrass
Unimark. Plaintiffs’ mere speculation that such documents could be relevant does not satisfy
their burden. Ethypharm S.A. France v. Abbott Labs., 748 F. Supp. 2d 354, 361 Oo. Del. 2010).
See also Bastin v. Fed. Nat’l Mortgage Ass’n, 104 F.3d 1392, 1396 (D.C. Cir. 1997) (denial of
discovery is not abuse of discretion where a plaintiff is “unable to offer anything but rank
speculation to support” a claim and if discovery “would amount to nothing more than a fishing
expedition.”). “The party issuing the subpoena must demonstrate that the information sought is
relevant and material to the allegations and claims at issue in the proceedings.” Night Hawk Ltd.
v. Briarpatch Ltd, LP, No. 03-cv-1382-RWS, 2003 WL 23018833, at *8 (S.D.N.Y. Dec. 23,
2003) (citing Salvatore Studios Int'l v. Mako’s Inc., No. 01-cv-4430-BSJ-DF, 2001 WL 913945,
at *1 (S.D.N.Y. Aug. 14, 2001) (“Rule 26(b)(1) of the Federal Rules of Civil Procedure restricts
discovery to matters relevant to the claims and defenses of the parties”); see also Concord Boat
Corp. v. Brunswick Corp., 169 F.R.D. 44, 50 (S.D.N.Y. 1996) (“[t]o the extent a subpoena
sweepingly pursues material with little apparent or likely relevance to the subject matter it runs
the greater risk of being found overbroad and unreasonable”).

Finally, the subpoenas are unduly burdensome because they seek documents and
testimony related to any tigecycline API provided to any third-party, rather than narrowly
tailoring the subpoenas Go LL. For

example, Topic No. 2 seeks | knowledge of or involvement with ... [any] generic

version of Tygacil®”, ie., any generic product containing tigecycline. Similarly, Topic No. 5 is
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overly broadly directed to “[t]esting by oo of tigecycline or any product containing
tigecycline.” Such a broader category of documents and information is simply irrelevant to the
Pending Litigation. See Novartis Pharms. Corp. v. Eon Labs Mfg., 206 F.R.D. 392, 394 (D. Del.
2002) (declining to compel discovery of documents and testimony pertaining to products that
were not the subject of the ANDA giving rise to the litigation). Accordingly, the Court must
quash the subpoenas because they “subject [Unimark] to undue burden.” Fed. R. Civ. P.
45(d)(3).

C. The Subpoenas are Invalid for Improper Service

Federal Rule of Civil Procedure 45(b)(1) mandates that a subpoena requiring a person’s
attendance at deposition must be served with the fees for one day’s attendance and the mileage
allowed by law. Fed. R. Civ. P. 45(b)(1). Not surprisingly, and likely due to the fact that
Unimark would be required to travel over 6,700 miles in order to comply with the subpoenas, the
subpoenas were not served with the proper and required mileage fee. As such, the subpoenas are
invalid for improper service and must be quashed. See Martinelli v. Petland, Inc., Nos. 10-407-
RDR and 09-529-PHX-DGC, 2010 WL 3947526, *8 (D. Kansas Oct. 7, 2010) (granting motion
to quash and holding that “[flailure to tender witness fees and reasonably estimated mileage fees
at the time of service of the subpoena renders the subpoena unenforceable”). Accordingly, the
Court must quash the subpoenas because they were improperly served in violation of Rule
45(b)(1).

D. Unimark is Entitled to its Fees and Costs

Because the subpoenas are improper and violate Rule 45(c)(1)(A) and Rule 45(c)(2)(A),
and because Plaintiffs served the invalid subpoenas will full knowledge of Unimark’s status as a
foreign entity beyond the reach of the geographic limits of Rule 45(c), Unimark is entitled to

sanctions in the amount of its attorney’s fees and costs in bringing the instant motion.

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Rule 45(d)(1) requires that “[a] party or attorney responsible for issuing and serving a
subpoena must take reasonable steps to avoid imposing undue burden or expense on a person
subject to the subpoena.” Indeed, “[w]hen a subpoena should not have been issued, literally
everything done in response to it constitutes ‘undue burden or expense’ within the meaning of []
Rule 45[(d)(1)].” CareTaLive v. Van Eschenbach, No. 2:07 -cv-729, 2008 WL 552431, *3 (S.D.
Ohio Feb. 26, 2008). Accordingly, Rule 45(d)(1) provides that “[t]he court for the district where
compliance is required must enforce this duty and impose an appropriate sanction-which may
include lost earnings and reasonable attorney’s fees-on a party or attorney who fails to comply.”

Further, Rule 26(g)(1) requires that every discovery request be signed by at least one
attorney, thereby certifying “that to the best of the person’s knowledge, information, and belief
formed after a reasonable inquiry ... [the discovery request is] consistent with these rules and
warranted by existing law . . . [and] not interposed for any improper purpose, such as to harass,
cause unnecessary delay, or needlessly increase the cost of litigation.” Rule 26(g)(3) provides
that “{i}f a certification violates this rule without substantial justification, the court, on motion or
on its own, must impose an appropriate sanction on the signer, the party on whose behalf the
signer was acting, or both.” Furthermore, “[t]he sanction may include an order to pay the
reasonable expenses, including attorney’s fees, caused by the violation.” Id.; see also Allender v.
Raytheon Aircraft Co., 220 F.R.D. 661, 667 (D. Kan. 2004) (awarding sanctions to plaintiff and
against defendant’s counsel for “discovery misconduct” in violating Rule 45(b)(1)).

Knowing full well that Unimark was a foreign, non-party business entity located in
Mumbai, India, counsel for Plaintiffs signed the improper subpoenas and then improperly served
the subpoenas on Unimark, thereby purportedly certifying that counsel for Plaintiffs had made a

reasonable inquiry and concluded that the subpoenas were consistent with the Rules, warranted
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by existing law, and not interposed for any improper purpose. However, the subpoenas clearly
violate Rule 45(c)(1)(A) and Rule 45(c)(2)(A) as set forth above. In addition, despite being
explicitly on notice that discovery from Unimark may only be had via the Hague Convention,
Plaintiffs then improperly served the invalid subpoenas, necessitating this Motion to Quash.
Therefore, because the subpoenas are invalid and were served in violation of Rules 45(c)(1)(A),
45(c)(2)(A), and 26(g)(1), Unimark is entitled to sanctions against Plaintiffs pursuant to Rule
45(d)(1) and Rule 26(g)(3) in the amount of the costs and fees necessary in bringing the instant
motion.
I. CONCLUSION
For all the foregoing reasons, Unimark respectfully requests that the Court grant its
Motion to Quash the invalid subpoenas and award Unimark its costs and fees necessary in
bringing the instant motion.
CERTIFICATE OF CONFERENCE
Pursuant to Local Rule 3.01(g), Middle District of Florida, the undersigned counsel has
met and conferred with counsel for Plaintiff but were unable to reach a resolution regarding the
subpoenas necessitating the filing of Unimark’s motion.
Dated: April 20, 2016 Respectfully submitted,
/s/ Stefan V. Stein.
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CERTIFICATE OF SERVICE

I hereby certify that on April 20, 2016, a true and correct copy of the foregoing was
served on counsel for Plaintiffs as indicated below, addressed to:

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